            Case 1:21-cr-00444-JEB Document 39 Filed 01/20/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
          v.                                  :       Case No. 21-cr-444 (JEB)
BRIAN CHRISTOPHER MOCK,                       :
                                              :
                       Defendant.             :


            GOVERNMENT’S NOTICE OF FILING OF EXHIBITS PURSUANT
                       TO LOCAL CRIMINAL RULE 49

       The United States hereby gives notice, pursuant to Local Criminal Rule 49, of the following

exhibits that were provided to the Court and standby counsel in relation to the defendant’s oral

motion for bond and the hearing on that motion scheduled for January 20, 2022. The exhibits were

provided via e-mail and USAfx on January 20, 2022 and are as follows:

       1.       Government Exhibit A is a clip from the body-worn camera of Metropolitan Police

Department (MPD) officer C.W. and is approximately 45 seconds in length. The events depicted

in Exhibit A occurred at approximately 2:29 p.m. on January 6, 2021.

 2.     Government Exhibits B, C, and D are screenshots from Officer C.W.’s body-worn camera

            clip (Exhibit A). Each one is time-stamped approximately 2:29 p.m. on January 6, 2021.

       3.       Government’s Exhibit E is a clip from the body-worn camera of MPD Officer H.F.

and is approximately 58 seconds in length. The events depicted in Exhibit E occurred at

approximately 2:34 p.m. on January 6, 2021.

4.      Government Exhibits F, G, H, and I are screenshots from Officer H.F.’s body-worn camera

            clip (Exhibit E). Each one is time-stamped approximately 2:34 p.m. on January 6, 2021.

       5.       Government Exhibit J, referenced in the Statement of Facts, is a public posting by

the FBI on April 5, 2021, and re-posted by the private page “Sedition Hunters.”

       6.       Government Exhibits K, L, M, N, O, P, and Q are screenshots of social media
                                                  1
            Case 1:21-cr-00444-JEB Document 39 Filed 01/20/22 Page 2 of 3




postings by defendant Brian Mock and the woman who accompanied him to the Capitol. Each of

these screenshots were provided by a tipster. It is the government’s understanding that these posts

were posted on or around January 6, 2021. The screenshots were captured by the tipsters on various

dates between January and May 2021.

       7.      Government Exhibits R, S, and T are excerpts taken from defendant Mock’s

Facebook returns that the FBI received pursuant to a search warrant. Exhibit R was posted on

January 2, 2021. The posts in Exhibit S were posted on January 3, 2021. Exhibit T was posted on

January 8, 2021.

       8.      Government Exhibit U is a publicly-available Instagram video. It is approximately

three minutes in length. Mr. Mock can be seen shoving a Capitol police officer at the 2:14 mark.

Mr. Mock is wearing a green camouflage hoodie and a black backpack. At the 2:30 mark, Mr.

Mock can be seen yelling and pointing at officers. The government believes these are the same

events depicted in Exhibit A (Officer C.W.’s body-camera video) from a different angle.

       9.      Government Exhibit V is a publicly-available YouTube video entitled “Exclusive

Video Footage of Peaceful Protestors Being Attacked.” It is approximately 8:48 minutes in length.

At approximately the 3:37 mark, Mr. Mock can be seen in the left-hand corner shoving another

individual.




                                                2
          Case 1:21-cr-00444-JEB Document 39 Filed 01/20/22 Page 3 of 3




                                       Respectfully submitted,

                                       MATTHEW M. GRAVES
                                       United States Attorney

                                       s/Amanda Jawad
                                       Amanda Jawad
                                       Assistant United States Attorney
                                       District of Columbia Detailee
                                       N.Y. Bar 5141155
                                       U.S. Attorney’s Office
                                       211 W. Fort Street
                                       Detroit, MI 48226
                                       (313) 226-9116
                                       amanda.jawad@usdoj.gov


I HEREBY CERTIFY that I filed the foregoing
pleading electronically through the CM/ECF system
which caused standby counsel to be
served by electronic means, as reflected on the Notice
of Electronic Filing, and other methods of service as
indicated therein on June 20, 2021. I further certify that
our office mailed a copy of this filing to pro se defendant
Brian Mock via USPS.


s/Amanda Jawad
Amanda Jawad
Assistant United States Attorney




                                                 3
